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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

LIV GOLF, INC.,

               Movant,                             Misc. Case No. 1:22-mc-00126-CJN

       v.                                          Underlying Case, Jones v. PGA Tour, Inc.,
                                                   pending in the United States District Court for
CLOUT PUBLIC AFFAIRS, LLC,                         the Northern District of California: Case No.
                                                   5:22-cv-04486-BLF
               Respondent.


                                   JOINT STATUS REPORT

       The parties—Movant LIV Golf, Inc. (“LIV”) and Respondent Clout Public Affairs, LLC

(“Clout”)—have continued to confer in the week after their May 19, 2023 Joint Status Report, and

can now report that there is no longer a live controversy between the parties. Accordingly, they

respectfully request that the Court close this miscellaneous matter and cancel the status conference

set for Wednesday, May 31, 2023 at 9:30 a.m.
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Dated: May 26, 2023           /s/ Keith Forst
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on May 26, 2023, a true and correct copy of the foregoing was

furnished via ECF to all counsel of record.

                                                  /s/ Keith Forst




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